Case 1:22-cv-20892-RKA Document 24 Entered on FLSD Docket 02/09/2023 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 22-cv-20892-ALTMAN/Reid

  ANDOPHINE D. STERLING,

          Plaintiff,
  v.

  HD&S SUCCESSOR, LLC,

        Defendant.
  _________________________________________/

                                              ORDER

          The parties have filed a Joint Stipulation of Dismissal with Prejudice [ECF No. 23] under

  Federal Rule of Civil Procedure 41(a)(1)(A)(ii). After careful review, we ORDER AND ADJUDGE

  that this matter is DISMISSED with prejudice. Each party shall bear its own fees and costs. The

  Clerk of Court is directed to CLOSE this case. All hearings and deadlines are TERMINATED and

  all pending motions are DENIED as moot.

          DONE AND ORDERED in the Southern District of Florida on February 8, 2023.




                                                       _______________________________
                                                       ROY K. ALTMAN
                                                       UNITED STATES DISTRICT JUDGE
  cc:   counsel of record
